    Case 18-30264-sgj11          Doc 75     Filed 03/20/18 Entered 03/20/18 17:26:53      Desc Main
                                           Document      Page 1 of 4




The following constitutes the ruling of the court and has the force and effect therein described.



 Signed March 20, 2018
______________________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


     IN RE:                                 §
                                            §
     ACIS CAPITAL MANAGEMENT, L.P.,         §        CASE NO. 18-30264-SGJ-7
                                            §
           Alleged Debtor.                  §
     ________________________________________________________________________
     IN RE:                                 §
                                            §
     ACIS CAPITAL MANAGEMENT GP,            §        CASE NO. 18-30265-SGJ-7
     L.P.,                                  §
                                            §
           Alleged Debtor.                  §




        ORDER DENYING ALLEGED DEBTORS’ JOINT MOTION TO DISMISS THE
        INVOLUNTARY PETITIONS FILED BY JOSHUA N. TERRY FOR LACK OF
         SUBJECT MATTER JURISDICTION OR, ALTERNATIVELY, TO COMPEL
                        ARBITRATION 1 [DE ## 72 & 73]




            1
                DE ## 72 & 73 in Case No. 18-30264; DE ## 69 & 70 in Case No. 18-30265.

                                                              1
Case 18-30264-sgj11            Doc 75      Filed 03/20/18 Entered 03/20/18 17:26:53                     Desc Main
                                          Document      Page 2 of 4



         Late at night on March 19, 2018—on the day before a long-scheduled Trial of an

 Involuntary Bankruptcy Petition filed against the above-referenced Alleged Debtors—and

 despite the provisions of an Agreed Scheduling Order dated February 26, 2018 (which clearly

 contemplated that motions to dismiss, supplements, and other pleadings would have been filed

 significantly prior to March 19, 2018)—the Alleged Debtors filed a Joint Motion to Dismiss the

 Involuntary Petitions filed by Joshua N. Terry for Lack of Subject Matter Jurisdiction or,

 Alternatively, Motion to Compel Arbitration (the “Motions to Dismiss/Compel”), 2 and a

 supplement thereto on March 20, 2018. 3 The Motions to Dismiss/Compel argue a lack of subject

 matter jurisdiction, with regard to this court’s ability to adjudicate the Involuntary Bankruptcy

 Petitions, because allegedly Petitioning Creditor Joshua Terry (the “Petitioning Creditor”) lacked

 standing to file the Involuntary Bankruptcy Petitions because of an arbitration clause in an

 Amended and Restated Agreement of Limited Partnership of ACIS Capital Management, L.P.

 (the “Partnership Agreement”) dated January 21, 2011, which required parties to the Partnership

 Agreement to arbitrate disputes. The arbitration clause at issue is found at Section 6.12 of the

 Partnership Agreement. The Motions to Dismiss/Compel alternatively argue that this court

 should enforce/recognize the arbitration clause and order the parties to arbitrate whether the

 above-referenced Alleged Debtors should be in bankruptcy. The Motions to Dismiss/Compel are

 DENIED for the following reasons:




         2
             DE # 74 in Case No. 18-30264; DE # 71 in Case No. 18-30265.
           3
             The court will presume that the Alleged Debtors thought that a subject matter jurisdiction argument—and
 the fact that courts can consider their subject matter jurisdiction at all times during litigation—warranted their
 blatant violation of the Agreed Scheduling Order. The court will expect a good explanation in court as to why this
 subject matter jurisdiction argument was made 47 days after the case was filed, and after a previous answer and
 motion to dismiss were filed by the Alleged Debtor, and, of course, in violation of a court order.


                                                              2
Case 18-30264-sgj11       Doc 75     Filed 03/20/18 Entered 03/20/18 17:26:53              Desc Main
                                    Document      Page 3 of 4



    (1) The parties involved here have already arbitrated prepetition. In fact, it is undisputed that

       the Petitioning Creditor obtained an arbitration award that was confirmed with a

       judgment in state court.

    (2) Section 6.12 of the Partnership Agreement is not applicable because filing an involuntary

       bankruptcy case is a collection remedy available to creditors with unsecured claims that

       are not the subject of a bona fide dispute and whose claims aggregate at least $15,775 in

       amount. It is not a claim or controversy in and of itself, and is certainly not a claim or

       controversy “arising of, relating to or in connection with the [Partnership] Agreement.”

    (3) Even if Section 6.12 of the Partnership Agreement is applicable, the filing of an

       involuntary bankruptcy case, such as in the case at bar, presents a “core” bankruptcy

       proceeding and a bankruptcy court has discretion to decline to stay its proceedings in

       deference to arbitration where the underlying nature derives exclusively from the

       Bankruptcy Code (i.e., is “core”) and arbitration conflicts with the purposes of the Code.

       Arbitration in the case at bar would irreconcilably conflict with the purposes and goals of

       the Bankruptcy Code (including, but not limited to, the goal of centralized resolution of

       purely bankruptcy issues, the need to protect creditors and debtors from piecemeal

       litigation, and the expeditious and equitable distribution of assets of a debtor’s estate).

       See In re Nat'l Gypsum Co., 118 F.3d 1056, 1069-70 (5th Cir. 1997) (a bankruptcy court

       can deny enforcement of arbitration provisions when it finds either: (1) that enforcement

       of the provision would irreconcilably conflict with the Code; or (2) in exercising its

       discretion in a core case where the only rights at issue were created by the Code rather

       than inherited from pre-petition property of the debtors); In re Gandy, 299 F.3d 489, 499-

       500 (5th Cir. 2002) (same).



                                                     3
Case 18-30264-sgj11   Doc 75    Filed 03/20/18 Entered 03/20/18 17:26:53   Desc Main
                               Document      Page 4 of 4



         WHEREFORE the Motions to Dismiss/Compel are DENIED.

                         ###END OF ORDER###




                                             4
